
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-00-00220-CR


______________________________




EARL CHARLES REYNOLDS, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the 188th Judicial District Court


Gregg County, Texas


Trial Court No. 27,360-A




                                                 




Before Cornelius, C.J., Grant and Ross, JJ.


Opinion by Justice Grant



O P I N I O N



	Earl Charles Reynolds appeals his conviction for aggravated assault.  Reynolds pleaded guilty
without a plea bargaining agreement, and the trial court sentenced him to ten years' imprisonment. 
In the same proceeding, Reynolds also pleaded guilty to three other aggravated assault offenses and
to one unlawful possession of a firearm by a felon offense.  The trial court sentenced him to fifteen
years' imprisonment for one of the aggravated assault offenses and to ten years' imprisonment for
each of the other aggravated assault offenses and for the unlawful possession of a firearm by a felon
offense.  All sentences were ordered to run concurrently.

	The trial court then recessed the proceedings and took up the State's motion to revoke
Reynolds's community supervision, which was previously imposed after Reynolds was convicted
of assault on a public servant.  Reynolds pleaded true to the State's single allegation.  The trial court
revoked Reynolds's community supervision and sentenced him to ten years' imprisonment.  The trial
court announced from the bench that Reynolds's sentence would be stacked on the sentences he
received for the aggravated assault and unlawful possession of a firearm by a felon offenses. 
However, the judgment does not contain a stacking order.

	Reynolds has also filed appeals from the other three aggravated assault convictions, the
unlawful possession of a firearm by a felon conviction, and the revocation of his community
supervision.  We address each of those appeals in separate opinions.

	Reynolds's attorney has filed an appellate brief in which he concludes that, after a review of
the record and the related law, the appeal is frivolous and without merit.  He has evaluated the record
and has found no error that arguably supports an appeal.  The brief thus meets the requirements of
Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), and Stafford v. State, 813
S.W.2d 503 (Tex. Crim. App. 1991).  Reynolds did not file a pro se response.

	We have this day released our opinion in cause number 06-00-00218-CR, Earl Charles
Reynolds v. The State of Texas.  Because the briefs and arguments are identical to those raised in this
appeal, for the reasons stated in that opinion, we agree with counsel's assessment of the record and
affirm the trial court's judgment.




						Ben Z. Grant

						Justice


Date Submitted:	October 15, 2001

Date Decided:		October 16, 2001


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